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 8                                   IN THE UNITED STATES DISTRICT COURT

 9                                       EASTERN DISTRICT OF CALIFORNIA

10

11    UNITED STATES OF AMERICA,                        No. 1:14-CR-00228-LJO-SKO

12                                Plaintiff,           FINAL ORDER OF FORFEITURE

13                      v.

14    BRANDON MICHAEL THOMAS,
      MIGUEL H. GONZALEZ,
15    PETER SANTO CAPODIECI,
      CHAD ALLEN RIFFLE,
16    BREE ANN BENSON,
      ASEEL AIMEN AL-SABER,
17    ASHLY STARLING WILLIAMS, and
      JEREMY MICHAEL MURPHY,
18
                                  Defendants.
19

20             WHEREAS, on May 26, 2015, the Court entered a Preliminary Order of Forfeiture,

21    pursuant to the provisions of 31 U.S.C. § 5317(c)(1), based upon the guilty pleas entered by

22    defendants Peter Santo Capodieci and Miguel H. Gonzalez, forfeiting to the United States the

23    following property;

24                  a. 2006 Land Rover Range Rover, VIN: SALSF25416A918902;

25                  b. 2004 Bentley, VIN: SCBCR63W64C021299;

26                  c. 2005 Bentley, VIN: SCBCR63W05C024281;

27                  d. 2012 Mercedes Benz CLS550C, VIN: WDDLJ7DB0CA231351;

28    1
          An order for interlocutory sale was entered on February 22, 2016 (ECF No. 227). The 2012

     FINAL ORDER OF FORFEITURE AS TO 2006 LAND ROVER   1
     RANGE ROVER, ET AL.
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 1                  e. 1997 30-foot cabin Motorboat, Vehicle/Hull Identification Number

 2                      PLCMK006F697, with 2000 Trailer; and,

 3                  f. 2009 Mercedes Benz C-Class C200 Sport Sedan, VIN: WDDGF54X49R049847;

 4                  g. Approximately $20,192.37 seized from Wells Fargo account number 5560878786,

 5                      held in the name of Gonzalez Painting, with Miguel Gonzalez as the primary and

 6                      sole signor on account;

 7                  h. Approximately $13,675.99 seized from Wells Fargo account number 7632274366,

 8                      held in the name of B.L.O.W., with Miguel Gonzalez as the primary and sole

 9                      signor on account;

10                  i. Approximately $36,222.75 seized from Wells Fargo account number 7632273871,

11                      held in the name of Infinity Ink Fresno, with Miguel Gonzalez as the primary and

12                      sole signor on account;

13                  j. Approximately $55,203.20 seized from Wells Fargo account number 9247007264,

14                      held in the name of Norma Pacheco;

15                  k. Approximately $6.70 seized from Wells Fargo account number 9247004741, held

16                      in the name of Norma Pacheco;

17                  l. Approximately $17,665.00 in U.S. Currency;

18                  m. Approximately $8,086.00 in U.S. Currency;

19                  n. Approximately $17,000.00 in U.S. Currency2;

20                  o. Approximately $140,630.00 in U.S. Currency;
21                  p. Approximately $25,260.00 in U.S. Currency;

22                  q. Approximately $23,675.00 in U.S. Currency;

23                  r. Approximately $219,747.00 in U.S. Currency;

24                  s. Firearm, Black SKS, serial number 19855-BA 4875;

25

26    Mercedes was subsequently sold on March 30, 2016, pursuant to the order, the net sale proceeds
      of $4,798.78 was deposited with Internal Revenue Service – Criminal Investigations pending
27    further order of the Court.
      2
        Peter T. Capodieci filed an administrative claim to this asset. The United States agreed to the
28    return of this asset, as provisioned infra.

     FINAL ORDER OF FORFEITURE                          2
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 1                  t. Firearm, Black AR DPMS, serial number 149533;

 2                  u. Firearm, Black Woodrip SKS, serial number N-PAP007383;

 3                  v. Firearm, Silver 0.45 cal Smith & Wesson, model 1988, serial number BDC3873;

 4                  w. Firearm, Black Short SKS, serial number 1968BF2282;

 5                  x. Firearm, Black Keltech 12 Gauge shotgun, serial number X7523;

 6                  y. Firearm, Black AR Model DT-15, serial number DT00000021;

 7                  z. Firearm, Rock Island 12 Gauge shotgun, serial number R1A1368646;

 8                  aa. Firearm, Winchester Model 94, .30 cal rifle, serial number 10103734;

 9                  bb. Firearm, AR BSA Model ZM4, serial number DSF00782;

10                  cc. Firearm, Black SAIGA 12 gauge Model CANA-12, serial number 13606582;

11                  dd. Firearm, Mossberg MBP 7.62, serial number MVP028504;

12                  ee. Firearm, Mossberg black 12 gauge shotgun, serial number U770197;

13                  ff. Firearm, Desert Eagle Israel Military .44 cal, serial number 27269;

14                  gg. Firearm, Colt 380 Auto Pocket lite GP20714 (silver, black handle);

15                  hh. Firearm, Colt .25 cal, serial number 393499 (silver, wood color handle);

16                  ii. Firearm, Glock 35 .40 cal, serial number EGR807;

17                  jj. Firearm, Derringer .38 special, serial number 059908;

18                  kk. Firearm, Remington Model 1100, serial number M584677V;

19                  ll. Firearm, Black AR, serial number NCV35924;

20                  mm. Firearm, Black AR Model ST-15, serial number KAI02810;
21                  nn. Firearm, SKS rifle, serial number L22288;

22                  oo. Firearm, Remington Rifle Model 7400, serial number B8135857;

23                  pp. Firearm, SKS Rifle Model WASR-10, serial number 1-92504-11R0;

24                  qq. Firearm, Sears Roebuck Model 43-103 0.22 cal;

25                  rr. Firearm, Taurus Model PT 1911 .45 cal, NAP64101;

26                  ss. Firearm, Glock 22 .40 cal, serial number VEW010;
27                  tt. Firearm, Iver Johnson Thrasher SS, serial number ESP0253;

28                  uu. Firearm, AR DPMS Model .223, serial number W0021064;

     FINAL ORDER OF FORFEITURE                           3
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 1                  vv. Firearm, Kel-tec SUB-2000, serial number EQ525;

 2                  ww. Firearm, Ruger American .22 cal, serial number 830-16088;

 3                  xx.    A personal forfeiture money judgment against defendant BREE ANN BENSON

 4                         in the amount of $663,318.00;

 5                  yy.    A personal forfeiture money judgment against defendant PETER SANTO

 6                         CAPODIECI in the amount of $2,500,000.00;

 7                  zz.    A personal forfeiture money judgment against defendant MIGUEL H.

 8                         GONZALEZ in the amount of $2,500,000.00;

 9                  aaa. A personal forfeiture money judgment against defendant JEREMY MICHAEL

10                         MURPHY in the amount of $242,510.00;

11                  bbb. A personal forfeiture money judgment against defendant ASEEL AIMEN AL-

12                         SABER in the amount of $102,050.00; and,

13                  ccc. A personal forfeiture money judgment against defendant BRANDON

14                         MICHAEL THOMAS in the amount of $2,500,000.00.

15             AND WHEREAS, on June 11, 2015, the Court entered a Preliminary Order of Forfeiture,

16    pursuant to the provisions of 31 U.S.C. § 5317(c)(1), based upon the guilty plea entered by

17    defendant Bree Ann Benson, forfeiting to the United States the above-listed property;

18             AND WHEREAS, on January 7, 2016, the Court entered a Preliminary Order of

19    Forfeiture, pursuant to the provisions of 31 U.S.C. § 5317(c)(1), based upon the guilty pleas

20    entered by defendants Jeremy Michael Murphy and Aseel Aimen Al-Saber, forfeiting to the
21    United States the above-listed property;

22             AND WHEREAS, on January 8, 2016, the Court entered an Amended Preliminary Order

23    of Forfeiture, pursuant to the provisions of 31 U.S.C. § 5317(c)(1), based upon the guilty pleas

24    entered by defendants Jeremy Michael Murphy and Aseel Aimen Al-Saber, forfeiting to the

25    United States the above-listed property;

26             AND WHEREAS, on May 12, 2016, the Court entered a Preliminary Order of Forfeiture,
27    pursuant to the provisions of 31 U.S.C. § 5317(c)(1), based upon the guilty plea entered by

28    defendant Brandon Michael Thomas, forfeiting to the United States the above-listed property;

     FINAL ORDER OF FORFEITURE                             4
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 1             AND WHEREAS, beginning on June 5, 2015, August 14, 2015, January 24, 2016, and

 2    May 19, 2016, for at least 30 consecutive days respectively, the United States published notice of

 3    the Court’s Order of Forfeiture on the official internet government forfeiture site

 4    www.forfeiture.gov. Said published notice advised all third parties of their right to petition the

 5    Court within sixty (60) days from the first day of publication of the notice for a hearing to

 6    adjudicate the validity of their alleged legal interest in the forfeited property;

 7             AND WHEREAS, on February 17, 2016, a Stipulation for Interlocutory Sale of 2012

 8    Mercedes Benz CLS550C, VIN: WDDLJ7DB0CA23135, registered to Norma Pacheco, was

 9    entered into between the United States, Norma Pacheco, Mercedes Benz of Fresno, and Wells

10    Fargo Bank, wherein Norma Pacheco forfeited her right, title, and interest in the 2012 Mecedes

11    Benz CLS550C, VIN: WDDLJ7DB0CA23135;

12             AND WHEREAS, on February 22, 2016, the Court ordered the interlocutory sale of the

13    2012 Mercedes Benz CLS550C, VIN: WDDLJ7DB0CA23135, ordering all net proceeds to be

14    held by the Internal Revenue Service – Criminal Investigations pending further order of the

15    Court;

16             AND WHEREAS, on March 13, 2017, the United States provided direct notice to Michael

17    Paz, Norma Pacheco, and attorney Stephen Quade, attorney for Norma Pacheco;

18             AND WHEREAS, on March 17, 2017, the United States provided direct notice to Michael

19    Paz at an additional address discovered by the United States;

20             AND WHEREAS, on February 2, 2018, Michael Paz filed his withdrawal of claim to the
21    2009 Mercedes C300W, VIN: WDDGF54X49R049847;

22             AND WHEREAS, no other third party has filed a claim to the subject property and the

23    time for any person or entity to file a claim has expired;

24             Accordingly, it is hereby ORDERED and ADJUDGED:

25             1.       A Final Order of Forfeiture shall be entered forfeiting to the United States of

26    America all right, title, and interest in the below-listed property pursuant to 31 U.S.C. 5317(c)(1),
27    to be disposed of according to law, including all right, title, and interest of Peter T. Capodieci,

28    Norma Pacheco, Mercedes Benz of Fresno, Wells Fargo Bank, Brandon Michael Thomas, Miguel

     FINAL ORDER OF FORFEITURE                            5
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 1    H. Gonzalez, Peter Santo Capodieci, Chad Allen Riffle, Bree Ann Benson, Aseel Aimen Al-

 2    Saber, Jeremy Michael Murphy, and Michael Paz.

 3             2.       Upon entry of this Final Order of Forfeiture, but no later than 45 days thereafter,

 4    the approximately $17,000.00 in U.S. Currency, shall be returned to Peter T. Capodieci, through

 5    his counsel of record, Randy Sue Pollock, 3824 Grand Avenue, Suite 120, Oakland, California

 6    94610, telephone number (510) 763-9967.

 7             3.       All right, title, and interest in the following property shall vest solely in the name

 8    of the United States of America:

 9                      a.       2006 Land Rover Range Rover, VIN: SALSF25416A918902;

10                      b.       2004 Bentley, VIN: SCBCR63W64C021299;

11                      c.       2005 Bentley, VIN: SCBCR63W05C024281;

12                      d.       Approximately $4,798.78, the net sale proceeds from the interlocutory sale

13                               of the 2012 Mercedes Benz CLS550C, VIN: WDDLJ7DB0CA23135;

14                      e.       1997 30-foot cabin Motorboat, Vehicle/Hull Identification Number

15                               PLCMK006F697, with 2000 Trailer;

16                      f.       2009 Mercedes Benz C-Class C200 Sport Sedan, VIN:

17                               WDDGF54X49R049847;

18                      g.       Approximately $20,192.37 seized from Wells Fargo account number

19                               5560878786, held in the name of Gonzalez Painting, with Miguel Gonzalez

20                               as the primary and sole signor on account;
21                      h.       Approximately $13,675.99 seized from Wells Fargo account number

22                               7632274366, held in the name of B.L.O.W., with Miguel Gonzalez as the

23                               primary and sole signor on account;

24                      i.       Approximately $36,222.75 seized from Wells Fargo account number

25                               7632273871, held in the name of Infinity Ink Fresno, with Miguel

26                               Gonzalez as the primary and sole signor on account;
27                      j.       Approximately $55,203.20 seized from Wells Fargo account number

28                               9247007264, held in the name of Norma Pacheco;

     FINAL ORDER OF FORFEITURE                             6
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 1                      k.       Approximately $6.70 seized from Wells Fargo account number

 2                               9247004741, held in the name of Norma Pacheco;

 3                      l.       Approximately $17,665.00 in U.S. Currency;

 4                      m.       Approximately $8,086.00 in U.S. Currency;

 5                      n.       Approximately $140,630.00 in U.S. Currency;

 6                      o.       Approximately $25,260.00 in U.S. Currency;

 7                      p.       Approximately $23,675.00 in U.S. Currency;

 8                      q.       Approximately $219,747.00 in U.S. Currency;

 9                      r.       A personal forfeiture money judgment against defendant BREE ANN

10                               BENSON in the amount of $663,318.00;

11                      s.       A personal forfeiture money judgment against defendant PETER SANTO

12                               CAPODIECI in the amount of $2,500,000.00;

13                      t.       A personal forfeiture money judgment against defendant MIGUEL H.

14                               GONZALEZ in the amount of $2,500,000.00;

15                      u.       A personal forfeiture money judgment against defendant JEREMY

16                               MICHAEL MURPHY in the amount of $242,510.00;

17                      v.       A personal forfeiture money judgment against defendant ASEEL AIMEN

18                               AL-SABER in the amount of $102,050.00; and,

19                      w.       A personal forfeiture money judgment against defendant BRNADON

20                               MICHAEL THOMAS in the amount of $2,500,000.00.
21             4.       The United States Marshals Service or the Internal Revenue Service – Criminal

22    Investigations shall maintain custody of and control over the subject property until it is disposed

23    of according to law.

24    IT IS SO ORDERED.
25
          Dated:       March 6, 2018                          /s/ Lawrence J. O’Neill _____
26                                                   UNITED STATES CHIEF DISTRICT JUDGE

27

28

     FINAL ORDER OF FORFEITURE                           7
